 Exhibit E

Cure Notice
                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


    In re:                                                  Chapter 7

    AKORN HOLDING COMPANY LLC, et                           Case No. 23-10253 (KBO)
    al.1
                                                            (Jointly Administered)
                              Debtors.


      NOTICE OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES THAT
      MAY BE ASSUMED AND ASSIGNED, PURSUANT TO SECTION 365 OF THE
    BANKRUPTCY CODE, IN CONNECTION WITH THE SALE OF SUBSTANTIALLY
      ALL OF THE DEBTORS’ ASSETS, AND THE PROPOSED CURE AMOUNTS

PLEASE TAKE NOTICE OF THE FOLLOWING:

        1.     On __________, 2023, the United States Bankruptcy Court for the District of
Delaware (the “Court”) entered an Order Granting Trustee’s Motion for Entry of an Order (A)
Approving Bidding Procedures in Connection With Sale of Substantially All of the Estates’
Assets, (B) Scheduling an Auction and Hearing to Consider the Proposed Sale and (C)
Approving the Form and Manner of Notice Thereof (the “Bidding Procedures Order”), which,
among other things, establishes bidding procedures (the “Bidding Procedures”) that govern the
manner in which all or substantially all of the assets (the “Purchased Assets”) of the above-
captioned debtors (the “Debtors”) are to be sold. All capitalized terms used but not defined
herein shall have the meanings assigned to them in the Bidding Procedures Order.

       2.     In accordance with the Bidding Procedures, the Trustee hereby file this Notice
(the “Cure Notice”) identifying: (i) those executory contracts and unexpired leases that may be
assumed and assigned to a potential purchaser in connection with the Trustee’s sale of the
Purchased Assets (the “Executory Contracts and Unexpired Leases”); and (ii) the proposed cure
amount to cure any and all defaults associated with each Executory Contract and Unexpired
Lease (the “Cure Amount”).

     3.      A list of the Executory Contracts and Unexpired Leases, together with the Cure
Amount for each, is attached to this Cure Notice as Exhibit 1.

      4.     You have been identified as possibly being a party to an Executory Contract or
Unexpired Lease.


1
 The Debtors in these chapter 7 cases, along with the last four digits of their federal tax identification numbers, and
cases numbers are Akorn Holding Company LLC (9190), Case No. 23-10253 (KBO); Akorn Intermediate Company
LLC (6123), Case No. 23-10254 (KBO); and Akorn Operating Company LLC (6184), Case No. 23- 10255. The
Debtors’ headquarters is located at 5605 CenterPoint Court, Gurnee, IL 60031.

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       5.      Timely objections to the Trustee’s proposed Cure Amounts, if any, will be heard
at a hearing scheduled to take place on May ___, 2023 at __________ (ET) before the
Honorable Karen B. Owens, United States Bankruptcy Judge, at the United States Bankruptcy
Court for the District of Delaware, Courtroom No. 3, Floor, 824 North Market Street,
Wilmington, Delaware 19801. This hearing may be adjourned, in which case you will be
informed of the new date and time.

       6.     If you wish to assert an objection to the proposed Cure Amount associated
with the particular Executory Contract or Unexpired Lease to which you are a party, you
must do so in accordance with the instructions in this Cure Notice, on or before __________,
2023 (the “Objection Deadline”).

        7.      In order to be considered, objections (if any) must: (i) be in writing; (ii) state with
specificity the grounds for such objection (with appropriate documentation in support thereof);
(iii) comply with the Federal Rules of Bankruptcy Procedure and the Local Rules for the United
States Bankruptcy Court for the District of Delaware; (iv) be filed with the Bankruptcy Court,
824 N. Market Street, 3rd Floor, Wilmington, DE 19801 by the Objection Deadline; and (v) be
served on the following parties via electronic mail, hand delivery or overnight mail (so as to be
received by such parties) by the Objection Deadline: (1) the Trustee, care of his counsel, Cozen
O’Connor, 1201 N. Market St., Ste. 1001, Wilmington, DE 19801, Attn. John T. Carroll, III, Esq.
(jcarroll@cozen.com) and Simon Fraser, Esq. (sfraser@cozen.com); (2) MidCap Funding IV
Trust, as ABL Agent care of its counsel, Proskauer Rose LLP, One International Place, Boston,
MA 02110, Attn: Charles A. Dale, Esq. (cdale@proskauer.com); (3) WSFS Institutional Services
as TL Agent, care of its counsel, Wilmer Cutler Pickering Hale and Dorr LLP, 7 World Trade
Center, 250 Greenwich Street, New York, NY 10007, Attn: Andrew N. Goldman, Esq.
(andrew.goldman@wilmerhale.com)              and         Nathan          J.       Moore,           Esq.
(nathan.moore@wilmerhale.com); (4) Ad Hoc TL Lender Group, care of their counsel, Gibson,
Dunn & Crutcher LLP, 200 Park Avenue, New York, NY 10166-0193, Attn: Matt J. Williams,
Esq.,      (mjwilliams@gibsondunn.com)          and      AnnElyse       Scarlett     Gains,        Esq.
(agains@gibsondunn.com); and (5) the Office of the United States Trustee, 844 King Street,
Suite 2207, Lockbox 35, Wilmington, DE 19081, Attn: Richard Schepacarter, Esq.
(Richard.Schepacarter@usdoj.gov) (collectively, the “Service Parties”).

        8.    If you do not file and serve a timely objection to a proposed Cure Amount
listed on Exhibit 1 to this Cure Notice pursuant to the instructions set out in this Cure
Notice, you shall be forever barred from objecting to such Cure Amount, and you shall be
deemed to consent to such Cure Amount.

        9.      The presence of a contract or agreement on Exhibit 1 attached hereto does not
constitute an admission that such contract or agreement is an executory contract, and does not
constitute a representation that such contract or agreement will be assumed and assigned to any
Successful Bidder. The Trustee reserves all of his rights, claims, and causes of action with
respect to the contracts and agreements listed on Exhibit 1 attached hereto.




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04/20/2023
         10.      This Cure Notice is qualified in its entirety by the Bidding Procedures Order.



Dated: April ____ 2023                                      COZEN O’CONNOR


                                                    By:     /s/
                                                            John T. Carroll, III (DE No. 4060)
                                                            Simon E. Fraser (DE No. 5335)
                                                            1201 N. Market Street
                                                            Suite 1001
                                                            Wilmington, DE 19801
                                                            (302) 295-2000 Phone
                                                            (302) 295-2013 Fax No.
                                                            jcarroll@cozen.com
                                                            sfraser@cozen.com

                                                            Counsel for the Trustee,
                                                            George L. Miller




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                                    Exhibit 1




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